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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

  UNITED STATES OF AMERICA,
                                                      CASE NO. 6:20-cr-97-Orl-31LRH
                Plaintiff,

  v.

  JOEL MICAH GREENBERG

              Defendant.
  _____________________________/


          NOTICE OF APPEARANCE AS TO JOEL MICAH GREENBERG

         COMES NOW, VNCENT A. CITRO, Esquire of the Law Offices of Horwitz &

  Citro, P.A., 17 East Pine Street, Orlando, Florida 32801, Telephone (407) 843-7733 and

  hereby enters his Notice of Appearance as counsel for the Defendant, JOEL MICAH

  GREENBERG in the above styled cause.

         Dated at Orlando, Orange County, Florida, this 29th day of June 2020.




                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 29, 2020, I electronically filed the foregoing

  with the Clerk of the Court by using the CM/ECF system, which will send a notice of

  electronic filing to Roger B. Handberg Assistant United States Attorney, United States

  Attorney’s Office, 400 West Washington Street, Suite 3100, Orlando, Florida 32801 at

  roger.handberg@usdoj.gov and Jennifer M. Harrington, Assistance United States
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  Attorney, United States Attorney’s Office, 400 West Washington Street, Suite 3100,

  Orlando, Florida 32801 at jennifer.harrington2@usdoj.gov .


                                      Respectfully submitted,

                                      LAW OFFICES OF HORWITZ & CITRO, P.A.

                                      /s/ Vincent A. Citro
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